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                                                          EXHIBIT C
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                                                                 Filed01/31/19
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 Fill in this information to identify your case:

 Debtor 1                   Darren R. Barney

 Debtor 2
                            First Name

                            Tracey L. Howell-Barney
                                                            Middle Name                      Last Name
                                                                                                                                     EXHIBIT E
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF INDIANA

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Allen County Treasurer                   Describe the property that secures the claim:                     $800.00             $175,000.00               $800.00
         Creditor's Name                          11212 Knollton Run Fort Wayne, IN
                                                  46818 Allen County
         1 East Main Street, Room
                                                  As of the date you file, the claim is: Check all that
         100                                      apply.
         Fort Wayne, IN 46802                         Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number


 2.2     Capital One Auto Finance                 Describe the property that secures the claim:                 $12,900.00               $10,000.00            $2,900.00
         Creditor's Name                          2015 Nissan Rogue 30000 miles
                                                  Location: 11212 Knollton Run, Fort
                                                  Wayne IN 46818
                                                  As of the date you file, the claim is: Check all that
         P.O. Box 260848                          apply.
         Plano, TX 75026                              Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   PMSI
       community debt

 Date debt was incurred                                    Last 4 digits of account number



Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 3
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 Debtor 1 Darren R. Barney                                                                                    Case number (if known)
               First Name                  Middle Name                      Last Name
 Debtor 2 Tracey L. Howell-Barney
               First Name                  Middle Name                      Last Name


         Oak Glen Community
 2.3                                                                                                                     $195.00       $175,000.00         $195.00
         Association, Inc                           Describe the property that secures the claim:
         Creditor's Name                            11212 Knollton Run Fort Wayne, IN
                                                    46818 Allen County
         429 E. Dupont Rd.
                                                    As of the date you file, the claim is: Check all that
         PMB 163                                    apply.
         Fort Wayne, IN 46825                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.4     Snow & Sauerteig LLP                       Describe the property that secures the claim:                      $2,095.00       $175,000.00       $2,095.00
         Creditor's Name                            11212 Knollton Run Fort Wayne, IN
                                                    46818 Allen County
         203 East Berry Street,
                                                    As of the date you file, the claim is: Check all that
         Suite 1100                                 apply.
         Fort Wayne, IN 46802                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


         The Bank of New York
 2.5                                                                                                                $223,000.00        $175,000.00     $48,000.00
         Mellon                                     Describe the property that secures the claim:
         Creditor's Name                            11212 Knollton Run Fort Wayne, IN
                                                    46818 Allen County
                                                    As of the date you file, the claim is: Check all that
         300 N Meridian St # 910                    apply.
         Indianapolis, IN 46204                          Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Mortgage
       community debt

 Date debt was incurred                                      Last 4 digits of account number




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 3
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 Debtor 1 Darren R. Barney                                                                                    Case number (if known)
               First Name                  Middle Name                      Last Name
 Debtor 2 Tracey L. Howell-Barney
               First Name                  Middle Name                      Last Name


         Wells Fargo Dealer
 2.6                                                                                                                 $17,558.00                 $15,000.00            $2,558.00
         Services                                   Describe the property that secures the claim:
         Creditor's Name                            2016 Chevrolet Impala 14000 miles
                                                    Location: 11212 Knollton Run, Fort
                                                    Wayne IN 46818
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 17900                             apply.
         Denver, CO 80217-0900                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Purchase Money Security
       community debt

 Date debt was incurred                                      Last 4 digits of account number         7171


   Add the dollar value of your entries in Column A on this page. Write that number here:                                    $256,548.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                   $256,548.00

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.5
          Doyle & Foutty PC
          41 E. Washington Street                                                                     Last 4 digits of account number
          Suite 400
          Indianapolis, IN 46204




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                    page 3 of 3
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